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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                       :
 UNITED STATES OF AMERICA              :                          NOLLE PROSEQUI
                                       :
           - v. –                      :                          24 Cr. 556 (DEH)
                                       :
 ERIC ADAMS,                           :
                                       :
                      Defendant.       :
                                       :
 ------------------------------------- X

       1.      The United States respectfully submits this motion seeking dismissal without

prejudice of the charges in this case, with leave of the Court, pursuant to Rule 48(a) of the Federal

Rules of Criminal Procedure.1 See United States v. Blaszczak, 56 F.4th 230, 238 (2d Cir. 2022)

(reasoning that “[t]he government may elect to eschew or discontinue prosecutions for any of a

number of reasons,” including based on announcements relating to “general policy.”); United

States v. Fokker Servs. B.V., 818 F.3d 733, 742 (D.C. Cir. 2016) (“[D]ecisions to dismiss pending

criminal charges—no less than decisions to initiate charges and to identify which charges to

bring—lie squarely within the ken of prosecutorial discretion.”); United States v. Amos, 2025 WL

275639, at *2 (D.D.C. 2025) (“[T]he government’s view of the public interest does not clearly fall

within the types of reasons found to provide legitimate grounds to deny the government Rule 48(a)

motion to dismiss charges.”).

       2.      Through counsel, Defendant Eric Adams has consented in writing to this motion

and agreed that he is not a “prevailing party” for purposes of the Hyde Amendment. See P.L. 105-

119, § 617, 111 Stat. 2440, 2519; 18 U.S.C. § 3006A note.


1
 The undersigned attorneys from the Department of Justice have replaced AUSAs from the U.S.
Attorney’s Office for the Southern District of New York as counsel of record in this case. The
Department of Justice will handle this matter and any related decision-making in the future.
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         3.     On September 24, 2024, Adams was charged in a five-count Indictment, 24 Cr. 556

(DEH).

         4.     The Acting Deputy Attorney General has determined, pursuant to an authorization

by the Attorney General, that dismissal is necessary and appropriate, and has directed the same,

based on the unique facts and circumstances of this case.

         5.     In connection with that determination and directive, the Acting Deputy Attorney

General concluded that dismissal is necessary because of appearances of impropriety and risks of

interference with the 2025 elections in New York City, which implicate Executive Order 14147,

90 Fed. Reg. 8235. The Acting Deputy Attorney General reached that conclusion based on, among

other things, review of a website2 maintained by a former U.S. Attorney for the Southern District

of New York and an op-ed published by that former U.S. Attorney.3

         6.     In connection with that determination and directive, the Acting Deputy Attorney

General also concluded that continuing these proceedings would interfere with the defendant’s

ability to govern in New York City, which poses unacceptable threats to public safety, national

security, and related federal immigration initiatives and policies. See, e.g., Executive Order 14159,

90 Fed. Reg. 8443; Executive Order 14165, 90 Fed. Reg. 8467. The Acting Deputy Attorney

General reached that conclusion after learning, among other things, that as a result of these

proceedings, Adams has been denied access to sensitive information that the Acting Deputy

Attorney General believes is necessary for Adams to govern and to help protect the City.



2
    https://www.damianwilliamsofficial.com.
3
 https://www.cityandstateny.com/opinion/2025/01/opinion-indictment-sad-state-new-york-
government/402235/?oref=csny-author-river.


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                                CERTIFICATE OF SERVICE


       I hereby certify that on this date, I electronically filed the foregoing with the Clerk of the

Court using the CM/ECF system, which will serve all counsel of record.


                                                     ________/s__________________
                                                     Edward Sullivan
                                                     Senior Litigation Counsel

Dated: February 14, 2025




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